          CASE 0:20-cr-00060-WMW-TNL Doc. 43 Filed 01/13/21 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    United States of America,                         Case No. 20-cr-60 (WMW/TNL)

                        Plaintiff,

    v.                                                             ORDER

    Daniel Thomas Stanger,

                        Defendant.


         This matter comes before the Court on Defendant Daniel Thomas Stanger’s Motion

to Continued Contested Motions Hearing Dates (ECF No. 38). Defendant has also filed a

Statement of Facts in Support of Exclusion of Time Under the Speedy Trial Act (ECF No.

41). Defendant, as well as the Government, request a 30-day continuance of the motions

hearing scheduled for December 22, 2020 as they “believe a continuance is in the interest

of justice to allow the parties to continue their pretrial work and work towards a potential

negotiated resolution of the instant case.” (ECF No. 38.)

         Additionally, beginning on March 13, 2020, and continuing thereafter, the

Honorable John R. Tunheim, Chief District Judge for the United States District Court for

the District of Minnesota, has issued a series of General Orders in connection with the

COVID-19 pandemic, addressing, among other things, criminal proceedings and trials. 1

On November 24, 2020, Chief Judge Tunheim entered General Order No. 22, which



1
   All General Orders related to the COVID-19 pandemic may be found on the Court’s website at
https://www.mnd.uscourts.gov/coronavirus-covid-19-guidance.

                                             1
          CASE 0:20-cr-00060-WMW-TNL Doc. 43 Filed 01/13/21 Page 2 of 4




continues all in-person hearings, unless the presiding judge determines that an in-person

hearing is necessary, through January 31, 2021, and states that no new criminal trial may

commence before February 1, 2021. See generally In re: Updated Guidance to Court

Operations Under the Exigent Circumstances Created by COVID-19, Gen. Order No. 22

(D. Minn. Nov. 24, 2020).

        General Order No. 22 continues to encourage the use of videoconferencing in

criminal proceedings and states that, with the defendant’s consent, criminal proceedings

will be conducted by videoconferencing, or telephone conferencing if videoconferencing

is not reasonably available. 2 General Order No. 22 further provides that, if the defendant

declines to consent to proceeding by videoconferencing or telephone conferencing, the

matter can be continued until an in-person hearing can be held and time may be excluded

under the Speedy Trial Act.

        The Court inquired whether Defendant consented to conducting the criminal

motions hearing using videoconferencing. (ECF Nos. 14.) Defendant indicated through

counsel that he consents to videoconferencing for the criminal motions hearing. (ECF No.

19.) Consistent with the health and safety protocols of this Court and the facility in which

Defendant is detained, the criminal motions hearing will be held by videoconference and

continued to February 8, 2021.




2
  See also General Order No. 24, which went into effect on December 25, 2020, and extends the Court’s authorization
to conduct certain criminal proceedings via video or telephone conference pursuant to the CARES Act “[b]ecause the
emergency created by the COVID-19 outbreak continues to materially affect the functioning of court operations in
the District of Minnesota.” In re: Updated Guidance to Court Operations Under the Exigent Circumstances Created
by COVID-19, Gen. Order No. 19 (D. Minn. Dec. 22, 2020).

                                                        2
        CASE 0:20-cr-00060-WMW-TNL Doc. 43 Filed 01/13/21 Page 3 of 4




       Therefore, pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice

served by granting such a continuance outweigh the best interests of the public and

Defendant in a speedy trial and such continuance is necessary to provide Defendant and

his attorney reasonable time necessary for effective preparation and to make efficient use

of the parties’ resources. Additionally, for the reasons addressed in General Order No. 22

and the well-documented concerns regarding COVID-19, the Court finds that, pursuant to

18 U.S.C. § 3161(h)(7)(A), the ends of justice served by granting the continuance outweigh

the best interests of the public and Defendant in a speedy trial. The Court further finds

that, pursuant to 18 U.S.C. § 3161(h)(7)(B)(i), a miscarriage of justice would result if time

were not excluded under these unique circumstances.

       Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

       1.     Defendant’s Motion to Continue Contested Motions Hearing Dates (ECF No.
              38) is GRANTED.

       2.     The period of time from December 18, 2020 through February 8, 2021,
              shall be excluded from Speedy Trial Act computations in this case.

       3.     Any Notice of Intent to Call Witnesses must be filed by January 29, 2021.
              D. Minn. LR 12.1(c)(3)(A).

       4.     Any Responsive Notice of Intent to Call Witnesses must be filed by
              February 1, 2021. D. Minn. LR 12.1(c)(3)(B).

       5.     The criminal motions hearing is continued to February 8, 2021 at 10:00
              a.m. and will occur by ZOOMGOV videoconferencing technology.

       6.     TRIAL:

              a. IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT: the
              following trial and trial-related dates are:

                                             3
       CASE 0:20-cr-00060-WMW-TNL Doc. 43 Filed 01/13/21 Page 4 of 4




            All motions in limine and proposed voir dire and jury instructions are due in
            District Judge Wilhelmina Wright’s chambers at least 21 days before trial
            begins. Counsel are advised that a pretrial notice will issue that will include
            additional deadlines.

            A status conference must be held on February 16, 2021, at 11:00 a.m.
            before District Judge Wilhelmina Wright, in Courtroom 7A, Warren E.
            Burger Federal Building and U.S. Courthouse, 316 North Robert Street,
            SAINT PAUL, Minnesota.

            This case must commence trial on February 22, 2021, at 9:00 a.m. before
            District Judge Wright in Courtroom 7A, Warren E. Burger Federal Building
            and U.S. Courthouse, 316 North Robert Street, SAINT PAUL, Minnesota.

            b. IF PRETRIAL MOTIONS ARE FILED, the trial date, and other
            related dates, will be rescheduled following the ruling on pretrial
            motions. Counsel must contact the Courtroom Deputy for District Judge
            Wright to confirm the new trial date.




Dated: January   12 , 2021                            s/Tony N. Leung
                                               Tony N. Leung
                                               United States Magistrate Judge
                                               District of Minnesota

                                               United States v. Stanger
                                               Case No. 20-cr-60 (WMW/TNL)




                                           4
